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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )          4:08CR3009-1
                                        )
                  Plaintiff,            )
                                        )
      vs.                               )
                                        )          ORDER
JOHN MICHAEL STEVE BROWN,               )
                                        )
                  Defendant.            )

      There being no objection by the government or the Pretrial Services Officer,

      IT IS ORDERED that:

      (1) The defendant’s motion to modify conditions of pretrial release (filing
123) is granted.

      (2)   The following conditions of pretrial release are modified:

            7(h) The defendant shall not leave Nebraska without the
                 prior approval of the pretrial services officer or the
                 court.

            7(p) REMOVED

      July 1, 2008.                   BY THE COURT:

                                      s/ Richard G. Kopf
                                      United States District Judge
